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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


                                                       Case No. l:23-CR-97
 UNITED STATES OF AMERICA
                                                       Count 1: Conspiracy to Provide Material
                                                       Support or Resources to a Designated Foreign
      V,                                               Terrorist Organization(18 U.S.C. § 2339B)

                                                      Counts 2-5: Providing and Attempting to
 MOHAMMED AZHARUDDIN CHHIPA,                          Provide Material Support or Resources to a
                                                      Designated Foreign Terrorist Organization
                                                      (18 U.S.C. §2339B)
                Defendant.
                                                      (18 U.S.C. § 2)(Aiding and Abetting)

                                                      Forfeiture Notice




                                          INDICTMENT


                             May 2023 Term—Alexandria, Virginia

THE GRAND JURY CHARGES THAT:

       At all times relevant to this Indictment, unless otherwise specified:

                                        General Allegations

       1.      The defendant, MOHAMMED AZHARUDDIN CHHIPA,was a United States

citizen residing within the Eastern District of Virginia.

       2.      The Islamic State ofIraq and al-Sham (ISIS) was designated by the United States

Secretary of State as a Foreign Terrorist Organization(FTO).

       3.      In approximately 2019 through February 2022, CHHIPA collected and sent

money to female ISIS members in Syria in order to benefit ISIS in various ways,including by

financing the escape offemale ISIS members from prison camps and supporting ISIS fighters.
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       4.      In approximately December 2020, CHHIPA began raising funds for and sending

money to Unindicted Co-Conspirator 1 (UCC-1). UCC-1 was a British-bom ISIS member

residing in Sjnria who was involved in raising funds for prison escapes,terrorist attacks, and ISIS

fighters. CHHIPA primarily sent funds to UCC-1 through the use of cryptocurrency.

       5.      On or about August 15,2021, CHHIPA collected $300 in US currency that he

subsequently transferred to UCC-1. The money was designated for female ISIS members in

prison camps and ISIS fighters.

       6.      On or about August 16,2021,UCC-1 confirmed receipt ofthe money by

electronic message.

       7.      On or about October 28,2021, CHHIPA collected $120 in US currency that he

subsequently transferred to UCC-1. The money was designated for ISIS fighters.

       8.      On or about November 3,2021,UCC-1 confirmed receipt ofthe money by

electronic message.

       9.      On or about November 18,2021, CHHIPA collected $260 in US currency that he

subsequently transferred to UCC-1. The money was designated for female ISIS members,ISIS

fighters, and for UCC-I's own use.

       10.    On or about November 24,2021, UCC-1 confirmed receipt ofthe money by

electronic message.

       11.    On or about January 13,2022, CHHIPA collected $160 in US currency that he

subsequently transferred to UCC-1. The money was designated for ISIS fighters.

       12.    On or about January 26,2022, UCC-1 confirmed receipt ofthe money by

electronic message.
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                                            Count One


    Conspiracy to Provide Material Support or Resources to a Designated Foreign Terrorist
                                           Organization

                                       (18U.S.C.§2339B)

       The allegations contained in paragraphs 1 through 12 ofthe General Allegations are fully

incorporated here by reference.

       From at least in and around December 2020 and continuing through at least in and around

February 2022,in the Eastem District of Virginia and elsewhere,the defendant, MOHAMMED

AZHARUDDIN CHHIPA,did knowingly conspire with UCC-l and others known and unknown

to the Grand Jury, to provide "material support or resources," as that term is defined in Title 18,

United States Code, Section 2339A(b), namely, currency and monetary instruments, to a foreign

terrorist organization—^namely,ISIS, which at all relevant times was designated by the United

States Secretary of State as a foreign terrorist organization pursuant to Section 219 ofthe

Immigration and Nationality Act—^knowing that ISIS was a designated foreign terrorist

organization, that ISIS engages and has engaged in terrorist activity, and that ISIS engages and

has engaged in terrorism.

                 (In violation of Title 18, United States Code, Sections 2339B.)
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                                           Count Two


      Providing and Attempting to Provide Material Support or Resources to a Designated
                                  Foreign Terrorist Organization

                                      (18U.S.C. §2339B)

THE GRAND JURY FURTHER CHARGES THAT:

       The allegations contained in paragraphs 1 through 12 ofthe General Allegations are fully

incorporated here by reference.

       From on or.about August 15,2021 to on or about August 16,2021,in the Eastern District

of Virginia, the defendant, MOHAMMED AZHARUDDIN CHHIPA,aiding and abetting and

aided and abetted by others known and unknown to the Grand Juiy, did knowingly provide, and

attempt to provide,"material support or resources," as that term is defined in Title 18, United

States Code, Section 2339A(b), by sending approximately $300 or more to a foreign terrorist

organization—^namely,ISIS, which at all relevant times was designated by the United States

Secretary of State as a foreign terrorist organization pursuant to Section 219 ofthe Immigration

and Nationality Act—^knowing that ISIS was a designated foreign terrorist organization,that

ISIS engages and has engaged in terrorist activity, and that ISIS engages and has engaged in

terrorism.


              (In violation ofTitle 18, United States Code, Sections 2339B and 2.)
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                                          Count Three


      Providing and Attempting to Provide Material Support or Resources to a Designated
                                  Foreign Terrorist Organization

                                      (18U.S.C. §2339B)

THE GRAND JURY FURTHER CHARGES THAT:

       The allegations contained in paragraphs 1 through 12 ofthe General Allegations are fully

incorporated here by reference.

       From on or about October 28,2021 to on or about November 3,2021,in the Eastem

District of Virginia, the defendant, MOHAMMED AZHARUDDEM CHHIPA,aiding and

abetting and aided and abetted by others known and unknown to the Grand Jury, did knowingly

provide, and attempt to provide,"material support or resources," as that term is defined in Title

18, United States Code, Section 2339A(b), by sending approximately $120 or more to a foreign

terrorist organization—^namely,ISIS, which at all relevant times was designated by the United

States Secretary of State as a foreign terrorist organization pursuant to Section 219 ofthe

Immigration and Nationality Act—^knowing that ISIS was a designated foreign terrorist

organization, that ISIS engages and has engaged in terrorist activity, and that ISIS engages and

has engaged in terrorism.

              (In violation of Title 18, United States Code, Sections 2339B and 2.)
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                                           Count Four


      Providing and Attempting to Provide Material Support or Resources to a Designated
                                  Foreign Terrorist Organization

                                      (18U.S.C. §2339B)

THE GRAND JURY FURTHER CHARGES THAT:

       The allegations contained in paragraphs 1 through 12 ofthe General Allegations are fully

incorporated here by reference.

       From on or about November 18,2021 to on or about November 24,2021,in the Eastern

District of Virginia,the defendant, MOHAMMED AZHARUDDIN CHHIPA,aiding and

abetting and aided and abetted by others known and unknown to the Grand Jury, did knowingly

provide, and attempt to provide,"material support or resources," as that term is defined in Title

18, United States Code, Section 2339A(b), by sending approximately $260 or more to a foreign

terrorist organization—^namely,ISIS, which at all relevant times was designated by the United

States Secretary of State as a foreign terrorist organization pursuant to Section 219 ofthe

Immigration and Nationality Act—^knowing that ISIS was a designated foreign terrorist

organization, that ISIS engages and has engaged in terrorist activity, and that ISIS engages and

has engaged in terrorism.

              (In violation of Title 18, United States Code, Sections 2339B and 2.)
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                                           Count Five


      Providing and Attempting to Provide Material Support or Resources to a Designated
                                  Foreign Terrorist Organization

                                      (18U.S.C. §2339B)

THE GRAND JURY FURTHER CHARGES THAT:

       The allegations contained in paragraphs 1 through 12 ofthe General Allegations are fully
incorporated here by reference.

       From on or about January 13,2022 to on or about January 26,2022,in the Eastern

District of Virginia,the defendant, MOHAMMED AZHARUDDIN CHHIPA,aiding and

abetting and aided and abetted by others known and unknown to the Grand Jury, did knowingly

provide, and attempt to provide,"material support or resources," as that term is defined in Title

18, United States Code, Section 2339A(b), by sending approximately $160 or more to a foreign

terrorist organization—namely,ISIS, which at all relevant times was designated by the United

States Secretary of State as a foreign terrorist organization pursuant to Section 219 ofthe

Immigration and Nationality Act—^knowing that ISIS was a designated foreign terrorist

organization, that ISIS engages and has engaged in terrorist activity, and that ISIS engages and

has engaged in terrorism.

              (In violation of Title 18, United States Code, Sections 2339B and 2.)
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                                     FORFEITURE NOTICE


        THE GRAND JURY FURTHER FINDS PROBABLE CAUSE FOR FORFEITURE,AS

DESCRIBED BELOW:

        Pursuant to Rule 32.2(a) ofthe Federal Rules of Crinainal Procedure,the defendant is

hereby notified that upon conviction of any ofthe offenses alleged in this Indictment,the

defendant, MOHAMMED AZHARUDDIN CHHIPA shall forfeit to the United States the

following:(1)all assets,foreign or domestic, of any individual, entity, or organization engaged

in planning or perpetrating the violation against the United States, citizens or residents ofthe

United States, or their property and all assets,foreign or domestic, affording a source of

influence over any such entity or organization;(2)all assets, foreign or domestic, acquired or

maintained with the intent and for the purpose ofsupporting, planning, conducting, or concealing

the violation against the United States, citizens or residences ofthe United States, or their

property;(3) all assets,foreign and domestic, derived fi:om,involved in, or used or intended to be

used to commit the violation against the United States, citizens or residents ofthe United States,

or their property; and(4)any firearm or ammunition involved in or used in the violation.

        Pursuant to 21 U.S.C. 853(p), the defendant shall forfeit substitute property, if, by any act

or omission ofthe defendant, the property referenced above cannot be located upon the exercise

of due diligence; has been transferred, sold to, or deposited with a third party; has been placed

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beyond the jurisdiction ofthe Court; has been substantially diminished in value; or has been
commingled with other property which cannot be divided without difficulty.

 (In accordance with Title 18, United States Code,Sections 924(d) and 981(a)(1)(G); Title 28,
         United States Code 2461(c); and Federal Rule of Criminal Procedure 32.2(a).)

                                                    A TRUE BILL:

                                                             Pursuant to the E-Government Act,,
                                                            The original of this page has been fiied
                                                                under seal in the Cierk's Ottice
                                                    FORBPERSON OF THE GRAND JURY

       Jessica D. Aber
       United States Attorney


By:
       Anthony T. Aminoff       ^
       Amanda Lowe
       Assistant United States Attorneys
